       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 1 of 51



                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
IN RE: ZOFRAN (ONDANSETRON) )
PRODUCTS LIABILITY LITIGATION )                      MDL No. 1:15-md-2657-FDS
                                    )
This Document Relates To:           )
                                    )
      All Actions                   )
____________________________________)

     MEMORANDUM AND ORDER ON DEFENDANT’S MOTION FOR SUMMARY
             JUDGMENT BASED ON FEDERAL PREEMPTION

SAYLOR, J.

       This is a multi-district litigation (“MDL”) proceeding arising out of product-liability

claims that the use of the drug Zofran (ondansetron) by pregnant women caused birth defects in

their children. Defendant GlaxoSmithKline LLC (“GSK”) has moved for summary judgment

based on federal preemption—in substance, that state-law claims of failure to provide an

adequate warning label are preempted by federal law. For the following reasons, the motion will

be denied.

I.     Introduction

       Zofran is an anti-emetic—that is, a drug that prevents or treats nausea or vomiting. It was

initially approved by the Food and Drug Administration in 1991 for the prevention of nausea and

vomiting induced by chemotherapy or radiation therapy and post-operative nausea and vomiting.

       Zofran was not approved, and never has been approved, for the prevention of nausea and

vomiting in pregnancy. Nonetheless, Zofran has been prescribed off-label to pregnant women

for many years. According to plaintiffs, that widespread practice was due in large part to

unlawful marketing practices by GSK that sought to promote off-label usage.
       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 2 of 51



       At some point, the FDA became aware that Zofran was being prescribed to pregnant

women in significant numbers. In 2010, the FDA requested that the GSK provide supplemental

information concerning the safety of Zofran when used during pregnancy. In response, GSK

provided an analysis of the then-available safety data. The FDA did not require any labeling

changes. In 2013, a citizen petition requested that the FDA revise the Zofran label to indicate an

increased risk to fetal safety if ingested during pregnancy. The FDA rejected that request. In

2015, the current manufacturer of Zofran, Novartis, submitted a proposed label change to

provide, among other things, a warning that use in pregnancy could cause harm to the fetus and

is not recommended. That, too, was rejected.

       In short, whether Zofran poses a risk to fetal safety has been considered, and rejected, by

the FDA on multiple occasions since the drug’s initial approval. Even today, it is not

contraindicated for use during pregnancy, and its label contains no enhanced form of warning for

such use. Indeed, the current label states that “[a]vailable data do not reliably inform the

association of Zofran and adverse fetal outcomes.”

       Plaintiffs nonetheless contend that ingestion of Zofran during pregnancy in fact causes

birth defects, that the label should contain such a warning, and that GSK’s failure to provide such

a warning should result in tort liability under state law. Plaintiffs contend that the FDA’s initial

approval of Zofran in 1991, and its subsequent rejection of label changes, were based on

incomplete information—essentially, because GSK withheld certain data from the FDA and

made material misrepresentations. GSK denies that it withheld information and contends that

any state-law failure-to-warn claims are preempted by federal law.

       The potential preemption issue arises out of a clash between federal regulation of

prescription drugs and state-law product-liability principles. By federal law, the FDA closely




                                                  2
       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 3 of 51



regulates the labeling of drugs, including warning labels; as a general matter, a drug label may

only be created or changed with FDA approval. That creates an obvious tension with state laws,

which generally permit recovery for failure to provide an adequate warning, but which assume

that a manufacturer is free to provide such warnings as it sees fit.

       There is, however, a process under federal law—called the “changes being effected,” or

“CBE,” process—that permits a drug company to change a label unilaterally, based on certain

“newly acquired information” concerning its safety, subject to later FDA approval. Because of

the existence of the CBE process, the Supreme Court has held that a drug company can in fact

add safety information to its label without FDA approval. See Wyeth v. Levine, 555 U.S. 555,

570-71 (2009). As a result, a drug company may prove that federal law preempts state law only

if it can show by “clear evidence” that the FDA would have rejected the warning that plaintiffs

contend state law required. Id. at 571.

       Here, there is little doubt that the FDA would have rejected plaintiffs’ proposed warning:

it in fact did reject it, at least in substance. But plaintiffs contend that GSK’s failure to make

complete disclosures to the FDA means that the agency’s decisions were not fully informed, and

therefore a finding of federal preemption is precluded.

       The legal framework for considering preemption claims is muddy at best. Among other

things, there is considerable debate as to such basic matters as the required standard of proof and

the appropriate roles of the judge and jury. The United States Supreme Court recently granted a

writ of certiorari in an FDA preemption case, presumably to clarify some of those issues. See In

re Fosamax, 852 F.3d 268 (3d Cir. 2017), cert. granted sub nom. Merck Sharp & Dohme Corp.

v. Albrecht, 138 S. Ct. 2705 (2018).

       In the meantime, this Court is required to consider the matter under the existing




                                                  3
       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 4 of 51



framework, without the benefit of that guidance, and notwithstanding the fact that the applicable

principles as determined by this Court may eventually prove to be erroneous. Under the existing

legal framework, as this Court understands and interprets it, the basic factual question underlying

preemption—that is, whether the FDA would have rejected the label had it been presented with

the evidence plaintiffs contend was withheld—must be resolved by a jury.

       Accordingly, and for the following reasons, the motion of GSK for summary judgment

based on preemption will be denied.

II.    Background

       Unless otherwise noted, the following facts are undisputed.

       A.      The Regulatory Framework

               1.      Labeling Requirements Generally

       Under federal law, a drug company may not market or sell a new pharmaceutical drug

without the approval of the Food and Drug Administration. 21 U.S.C. § 355(a). To obtain that

approval, the company (which is referred to as the “sponsor”) must submit a New Drug

Application (“NDA”) to the FDA. (Id.). An NDA must provide comprehensive information

about the drug, including its formulation, the proposed labeling, and scientific data about its

safety and efficacy. Id. § 355(b)(1)(F); 21 C.F.R. §§ 314.50(d)(5)(viii), 201.57(a).

       Not surprisingly, FDA regulations require that an NDA fully disclose all “pertinent”

safety information. See, e.g., 21 C.F.R. §§ 314.50 (requiring “reports of all investigations of the

drug product sponsored by the applicant, and all other information about the drug pertinent to an

evaluation of the NDA that is received or otherwise obtained by the applicant from any source”);

314.50(d)(5)(vi)(A) (requiring “an integrated summary of all available information about the

safety of the drug product, including pertinent animal data[ and] demonstrated or potential




                                                 4
          Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 5 of 51



adverse effects of the drug”); 312.50 (stating that “[s]ponsors are responsible for . . . providing

[investigators] with the information they need to conduct an investigation properly . . . and

ensuring that FDA and all participating investigators are promptly informed of significant new

adverse effects or risks with respect to the drug”).

          The sponsor’s duty to make full disclosure continues beyond the initial submission of its

NDA. See, e.g., id. §§ 314.50(d)(5)(vi)(B) (“The applicant must . . . update periodically its

pending NDA with new safety information learned about the drug that may reasonably affect the

statement of contraindications, warnings, precautions, and adverse reactions in the draft

labeling . . . [including information from] animal studies.”); 312.33 (requiring annual reports for

investigational NDAs that include “[a] list of the preclinical studies {including animal studies}

completed or in progress during the past year and a summary of the major preclinical findings,”

and, “[i]f the study has been completed, or if interim results are known, a brief description of any

available study results”).

          The FDA approval process is “onerous and lengthy.” Mutual Pharm. Co. v. Bartlett, 570

U.S. 472, 476 (2013). The FDA will approve a drug only if the NDA demonstrates that the drug

(1) is “safe for use,” (2) “will have the effect it purports or is represented to have,” and (3) is

accompanied by labeling that is neither “false [n]or misleading in any particular.” 21 U.S.C. §§

355(c)(1)(A), (d).

          The FDA does not only approve the drug and its intended use; it also approves the exact

text of the label. Id. § 355; see Wyeth, 555 U.S. at 568. With one exception, noted below, the

sponsor may not alter the label in any respect without the approval of the FDA. Wyeth, 555 U.S.

at 565.




                                                   5
       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 6 of 51



                2.     The Process for Changing Labels

       After approval of a drug, the FDA retains the authority to require changes to the label to

reflect new information concerning its safety and efficacy. 21 U.S.C. § 355(o)(4); 21 C.F.R. §

314.93. Nonetheless, a “central premise of federal drug regulation [is] that the manufacturer

bears responsibility for the content of its label at all times.” Wyeth, 555 U.S. at 570-71. The

manufacturer is “charged both with crafting an adequate label and with ensuring that its warnings

remain adequate as long as the drug is on the market.” Id. at 571.

       There are two ways in which a manufacturer can seek to change the warnings on a drug

label. See In re Celexa & Lexapro Mktg. & Sales Practices Litig., 779 F.3d 34, 37 (1st Cir.

2015) (citing 21 C.F.R. § 314.70(b)(2), (c)(6)).

       First, a manufacturer can file a “Prior Approval Supplement” (“PAS”) requesting

revisions to the label. 21 C.F.R. § 314.70(b). That process requires FDA approval before

implementation, and in substance is similar to the process for initial approval of a label.

       Second, a manufacturer can unilaterally amend a label to “add or strengthen a

contraindication, warning, precaution, or adverse reaction” when “newly acquired information”

reflects a “clinically significant hazard.” 21 C.F.R. §§ 201.57(c)(6), 314.70(b)(2). That action,

known as the “changes being effected” (“CBE”) process, allows a sponsor to make an immediate

labeling change upon filing a supplemental application with the FDA. The amended label will

then be reviewed by the FDA and will be approved if it is based on new “reasonable evidence of

a causal association with [the] drug” and a “clinically significant hazard.” 21 C.F.R. §

201.57(c)(6).

       The term “newly acquired information” is not limited to entirely new data. Wyeth, 555

U.S. at 569. It also includes the following:




                                                   6
       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 7 of 51



       [D]ata, analyses, or other information not previously submitted to [the FDA],
       which may include (but is not limited to) data derived from new clinical studies,
       reports of adverse events, or new analyses of previously submitted data (e.g.,
       meta-analyses) if the studies, events, or analyses reveal risks of a different type or
       greater severity or frequency than previously included in submissions to [the]
       FDA.

21 C.F.R. § 314.3. See Celexa, 779 F.3d at 42 (giving examples of “newly acquired

information”).

                 3.    The FDA’s Approach to Warning Labels

       For most types of consumer products, manufacturers have an incentive to warn against

every conceivable type of hazard or risk in order to try to forestall tort liability under state law.

Many products thus come covered with labels, and packaged with booklets, containing multiple

warnings against dangers both real and remote.

       With pharmaceuticals, however, the FDA has adopted a more balanced approach.

       [T]he FDA does not simply approve warnings out of an abundance of caution
       whenever the manufacturer posits a theoretical association between drug use and
       an adverse event. As the FDA has recognized, “[e]xaggeration of risk, or
       inclusion of speculative or hypothetical risks, could discourage appropriate use of
       a beneficial drug.” Moreover, “labeling that includes theoretical hazards not well-
       grounded in scientific evidence can cause meaningful risk information to lose its
       significance.” Accordingly, the FDA will reject a PAS application or CBE
       amendment if there is insufficient evidence of a causal link between drug use and
       the adverse event.

In re Fosamax, 852 F.3d 268, 274 (3d Cir. 2017) (citations omitted).

       The FDA standard for requiring a warning label is thus different from that imposed by

state tort law. See, e.g., PLIVA, Inc. v. Mensing, 564 U.S. 604, 611 (2011) (“It is undisputed that

Minnesota and Louisiana tort law require a drug manufacturer that is or should be aware of its

product's danger to label that product in a way that renders it reasonably safe.”); Wooderson v.

Ortho Pharm. Corp., 681 P.2d 1038, 1049 (Kan. 1984) (“It is well settled, however, that the

manufacturer of ethical drugs bears the additional duty of making timely and adequate warnings



                                                   7
       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 8 of 51



to the medical profession of any dangerous side effects produced by its drugs of which it knows,

or has reason to know.”) (collecting cases from various jurisdictions).

                  4.       Warning Labels for Pregnancy

       Special provisions govern the labeling of drugs that may be taken by pregnant women.

Until June 30, 2015, the FDA classified drugs into five categories of safety for use during

pregnancy: A, B, C, D, or X. According to the then-applicable statutory language, “[i]f animal

reproduction studies have failed to demonstrate a risk to the fetus and there are no adequate and

well-controlled studies in pregnant women,” the label must contain the following language:

       Pregnancy Category B. Reproduction studies have been performed in (kind(s) of
       animal(s)) at doses up to (x) times the human dose and have revealed no evidence
       of impaired fertility or harm to the fetus due to (name of drug). There are,
       however, no adequate and well-controlled studies in pregnant women. Because
       animal reproduction studies are not always predictive of human response, this
       drug should be used during pregnancy only if clearly needed.

21 C.F.R. § 201.57(c)(9)(i)(A)(2).

       That classification system was eliminated by the FDA when it issued a final rule

amending the regulations concerning pregnancy and lactation labeling. 79 Fed. Reg. 72064

(Dec. 4, 2014).

       B.         The Approval of the Zofran Label

       Zofran, or ondansetron hydrochloride, is a prescription drug that prevents nausea and

vomiting. It is part of a class of anti-emetics referred to as selective serotonin 5-HT3 receptor

antagonists. (Hill Decl. Ex. 10).

       On January 4, 1991, the FDA approved the marketing and sale of Zofran for the

prevention of nausea and vomiting induced by chemotherapy or radiation therapy and post-

operative nausea and vomiting. (Id. Ex. 3). 1 The 1991 approval was for an injection


       1
           A predecessor of GSK, Glaxo, Inc., sponsored the original new drug application for Zofran. (Master


                                                         8
        Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 9 of 51



formulation; in 1992, 1995, 1997, and 1999, the FDA approved four additional formulations,

covering oral tablets, premixed injections, oral solutions, and orally disintegrated tablets,

respectively. (Id. Exs. 3, 6-9).

        C.     The Use of Zofran by Pregnant Women

        Nausea and vomiting during pregnancy (“NVP”) is a common condition affecting 50% to

90% of women during their pregnancies. (Id. Ex. 17 at 3). The most severe form of NVP is

known as hyperemesis gravidarum (“HG”). (Id.). “HG has been reported in 0.5% to 2% of

pregnancies and is characterized by persistent and severe nausea and vomiting,” and may pose a

serious health risk to both the mother and the fetus. (Id.).

        Zofran was not approved by the FDA for treatment of nausea and vomiting during

pregnancy. Indeed, GSK never sought approval for that use. However, it is generally lawful for

physicians to prescribe medications for purposes for which they have not been FDA-approved

(although it is generally unlawful for pharmaceutical companies to promote such “off-label”

use). See United States ex rel. Carpenter v. Abbott Labs., Inc., 723 F. Supp. 2d 395, 397 n.2,

398-99 (D. Mass. 2010); see also Buckman Co. v Plaintiffs’ Legal Committee, 531 U.S. 341, 350

(2001) (noting that “‘off-label’ usage of medical devices . . . is an accepted and necessary

corollary of the FDA’s mission to regulate in this area without directly interfering with the

practice of medicine”). Over time, many physicians have prescribed Zofran to pregnant women,

particularly those suffering from HG.

        When the FDA approved Zofran in 1991, it classified it as a pregnancy category B drug.

(Hill Decl. Ex. 3). Between 1992 and 2016, the “Use in Specific Populations” section of the

approved label for intravenous Zofran containing the pregnancy category B designation



Compl. ¶ 4).


                                                  9
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 10 of 51



contained the following or similar language:

        Reproduction studies have been performed in pregnant rats and rabbits . . . and
        have revealed no evidence of impaired fertility or harm to the fetus due to
        ondansetron. There are, however, no adequate and well-controlled studies in
        pregnant women. Because animal reproduction studies are not always predictive
        of human response, this drug should be used during pregnancy only if clearly
        needed.

(Id. Ex 4; see also Exs. 3, 7, 28).

        The Zofran label does not, and never has, contained a warning contraindicating use of the

drug to treat pregnant women.

        D.      The 2010 FDA PAS Request

        In December 2010, then-FDA Director Donna Greibel sent GSK a “Prior Approval

Supplement Request” concerning Zofran. The PAS Request indicated that the FDA was aware

of the common use of Zofran during pregnancy and requested that GSK “review and analyze

available published and unpublished literature on the use of ondansetron during pregnancy and

lactation, with a focus on the presence or absence of adverse pregnancy and/or neonatal

outcomes.” (Id. Ex. 12). The requested review and analysis was to include an “assessment of

the strengths and limitations of the data” and proposed labeling revisions if GSK concluded

changes were necessary to “furnish adequate information for the safe use of this drug.” (Id.).

        In April 2011, GSK replied to the FDA. Its response stated that it had “completed a

review of the available data and has included a summary of that analysis in this submission.”

(Id. Ex. 14). It stated that “[its] position is that the use of [Zofran] in human pregnancy has not

been established and is not recommended.” (Id.). And it concluded that it “[did] not believe

there [was] sufficient evidence to warrant a change in the [Zofran label].” (Id.).

        The FDA did not respond and no changes were made to the Zofran label concerning

pregnancy. (Id. Ex. 15).



                                                 10
       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 11 of 51



         E.         The 2013 Citizen Petition

         In January 2013, an individual named James P. Reichmann submitted a citizen petition

asking the FDA to revise the Zofran label to provide heightened pregnancy warnings. (Id. Ex.

16). 2 Specifically, he requested that the FDA reclassify the drug’s pregnancy risk category from

B to C, D, or X; notify obstetricians and gynecologists “that there is insufficient scientifically

acceptable evidence that ondansetron is associated with improved treatment outcomes and may

lead to adverse maternal and fetal events or outcomes”; and notify OB/GYNs that “promotion of

continuous subcutaneous ondansetron pump for the treatment of nausea and vomiting of

pregnancy (NVP) is a violation of FDA regulations.” (Id. Ex. 17 at 1). His petition contended

that Zofran “may lead to adverse maternal and fetal events or outcomes” if ingested during

pregnancy. (Id.). 3

         On October 27, 2015, the FDA denied the petition. (Id. Ex. 17). The FDA noted that

ondansetron had not been approved for the treatment of NVP, but that it was “aware of the

unapproved use of oral and injectable ondansetron for the treatment of NVP.” (Id. at 3). It

stated that “[t]he available evidence is not sufficient to conclude that there is an increased risk of

birth defects, including cleft palate, among fetuses exposed to ondansetron.” (Id. at 13). It

further indicated that it considered “information submitted by [GSK] to support approval of the

ondansetron NDA,” “post-marketing drug and device adverse event data,” and scientific

literature obtained through public submissions and through its own “targeted searches.” (Id. at

18 n.56). It concluded:


         2
           A citizen petition is a request that FDA “issue, amend, or revoke a regulation or order or take or refrain
from taking any other form of administrative action.” 21 C.F.R. § 10.30(b)(3). A citizen may petition for a change
in drug labeling. See Cerveny v. Aventis, Inc., 855 F.3d 1091, 1102 (10th Cir. 2017) (noting that “the FDA standard
for revising a warning label does not discriminate between proposals submitted by manufacturers and proposals
submitted by citizens”).
         3
             Reichmann supplemented his petition five times. (Id.).


                                                          11
       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 12 of 51



        Taking into consideration both the data available at the time ondansetron was
        approved and subsequent human data gathered in the post approval setting, at this
        time the totality of the data do not support a conclusion that there is an increased
        risk of fetal adverse outcomes, including birth defects such as cleft palate and
        cardiac ventricular and/or septal defects, among fetuses exposed to ondansetron.

(Id. at 18).

        As to the warning label, the FDA stated: “[W]e believe pregnancy category B was the

appropriate risk category for ondansetron when it was assigned and . . . we believe pregnancy

category B remains appropriate today.” (Id.). The FDA similarly rejected Reichmann’s request

for the FDA to notify doctors that use of Zofran during pregnancy is not safe for the fetus. Such

a notification, the FDA explained, could actually be misleading on account of the fact that “the

available data do not support a conclusion that there are increased safety risks . . . for the fetus.”

(Id. at 19).

        F.        The 2015 Novartis Proposal

        Novartis acquired Zofran from GSK in 2015. On September 22, 2015, Novartis

submitted to the FDA a proposed update to the Zofran pregnancy labelling along with a clinical

overview. (Id. Ex. 21). 4 The proposal included several changes to the “Risk Summary” section

of the label to advise against using Zofran during pregnancy and warn of potential risks to a

developing fetus.

        Specifically, Novartis proposed the following revisions:

        •      Beginning the “Risk Summary” subsection (§ 8.1) with the caution:

               “It is possible that ZOFRAN can cause harm to the fetus when administered to
               a pregnant woman. Thus, the use of ZOFRAN in pregnancy is not
               recommended. If ZOFRAN is used during pregnancy, or if the patient
               becomes pregnant while taking this drug, the patient should be apprised of the
               potential risk to a fetus.” (Id. at 2090).


        4
         Novartis was required to submit a proposed update to the Zofran label in order to conform with the then-
new Pregnancy and Lactation Labelling Rule, published in December 2014. (Id. Ex. 21).


                                                       12
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 13 of 51



        •   In the “Risk Summary” section, including the statement “Animal studies are
            not always predictive of human response, therefore, the use of ondansetron in
            pregnancy is not recommended.” (Id.).

        •   Creating a new subsection (§ 8.3) entitled “Females and males of reproductive
            potential,” which discusses pregnancy testing and contraception and states, in
            part, “Advise females of reproductive potential that it is possible that
            ZOFRAN can cause harm to the developing fetus. (Id. at 2092).

(Id. Exs. 21, 22).

        Novartis also provided a 47-page “clinical overview” document summarizing the data

that it believed was sufficient to support its revisions and a detailed recitation of the then-

available adverse event data. (Id. Ex. 22).

        In the conclusion section of the document, Novartis stated that while a review of the

science did not offer “consistent or compelling evidence that exposure to ondansetron in early

pregnancy causes major birth defects, including congenital cardiac defects,” the FDA should

nevertheless accept its labeling changes that inform prescribers and patients “of the potential risk

of fetal harm during treatment in pregnancy.” (Id. at 2309).

        In November 2015, the FDA rejected that request. It deleted the paragraph that included

the sentence “[i]t is possible that ZOFRAN can cause harm to the fetus when administered to a

pregnant woman.” (Id. Ex. 23 at 3945). It also deleted the subsection concerning “[f]emales and

males of reproductive potential” in its entirety, stating that “the available human data do not

support a clear conclusion on an increased risk of major congenital malformations,” and

therefore it did “not agree with recommendations for pregnancy testing and contraception use.”

(Id. at 3947).

        In December 2015, Novartis submitted a new round of proposed changes to the

pregnancy labeling. It cited reported adverse advents as sufficient to warrant a statement that

“[c]ases of congenital malformations have been reported in infants whose mothers took


                                                  13
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 14 of 51



ondansetron during pregnancy.” (Id. Ex. 24 at 2610). And in an effort to “provide conservative

guidance due to the potential off label use and the data available,” it again suggested including a

warning that “[t]he safety of ondansetron for use in human pregnancy has not been established.”

(Id. at 2611). In light of reported off-label use, it also requested a new “Limitations of Use”

section stating that “Zofran has not been studied in pregnant women for the prevention of nausea

and vomiting.” (Id. at 2604).

       The FDA responded in April 2015, again rejecting proposed language that the “use of

ondansetron in pregnancy is not recommended.” (Id. Exs. 23, 25, 27-28). The FDA stated that a

“limitations on use” statement is “not intended to prohibit off-label use.” (Id. Ex. 25 at 4045).

Rather, such a statement is proper only when “there is a known risk that outweighs the

therapeutic benefits in a certain clinical situation,” and the FDA could not draw that conclusion

for the use of Zofran to treat NVP. (Id.).

       Eventually, in September 2016, Novartis and the FDA agreed upon a revised label. In the

communications leading up to the revision, the FDA made the following statements:

       •   “We do not agree with keeping [the phrase ‘Animal studies are not always
           predictive of human response, therefore, the use of ondansetron in pregnancy
           is not recommended’] in labeling based on the available human information.”
           (Id. Ex. 23 at 3945).

       •   “Based on the Agency’s review, the available human data do not support a
           clear conclusion on an increased risk of major congenital malformation.” (Id.
           at 3947)

       •   “Based on review of the submitted pharmacovigilance database and the
           literature, we did not conclude that there is a basis to believe there is a causal
           relationship between the congenital malformations and the use of ondansetron.
           Therefore, these malformations would not qualify as adverse reactions.” (Id.
           Ex. 25 at 4051).

       •   “[C]linical evidence do not demonstrate a consistent safety concern that
           warrants advising against use during pregnancy.” (Id. at 4056).



                                                 14
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 15 of 51



       •    “There is no preponderance of the evidence to show that Zofran is ineffective
            when used for nausea and vomiting in pregnancy . . . . There is also no
            preponderance of the evidence that the benefits [of Zofran] do not generally
            outweigh its risks.” (Id. Ex. 27 at 4445).

       •    “[W]e do not believe that there is any basis to suspect drug attribution to
            [reported] congenital malformation cases for them to qualify as ‘adverse
            reactions.’ Only adverse reactions, where there is some basis to believe that
            the drug plays a role in the adverse outcome, should be included in labeling,
            including in the [Postmarketing] section.” (Id. at 4450).

       •    “[T]here is no evidence, nonclinical or mechanism of action, that raises
            concerns for adverse fetal outcomes with Zofran. Inclusion of such statement
            would not only be unhelpful to prescribers, but it could be misleading in
            implying that FDA has some concerns about the role of Zofran in a variety of
            fetal malformations.” (Id. at 4451).

       •    “[C]ardiac malformations is the most common congenital malformation,
            affecting nearly 1% of births per year in the US. Given such high prevalence,
            it is expected that such malformations would be reported with the use of
            Zofran by chance alone.” (Id. at 4465).

       The final 2016 version of the approved label states the following, among other things:

            •   “Available data do not reliably inform the association of Zofran and adverse fetal
                outcomes” (Id. at 4451);

            •   “Published epidemiological studies on the association between ondansetron and
                fetal outcomes have reported inconsistent findings and have important
                methodological limitations hindering interpretation” (Id.);

            •   There is “no clear evidence that ondansetron exposure in early pregnancy can
                cause cleft palate” (Id. at 4452); and

            •   There are “[i]mportant methodological limitations” to the single cohort study that
                reported an association between ondansetron exposure and cardiac defects. (Id.).

       G.       Plaintiffs’ Allegations of Omissions in FDA Submissions

       Plaintiffs do not dispute the labeling history outlined above. Nonetheless, they contend

that GSK failed to disclose material evidence to the FDA concerning the safety of Zofran prior to

its approval in 1991, and after it came on the market. Therefore, according to plaintiffs, the

FDA’s initial categorization of Zofran as a pregnancy category B drug, and its subsequent refusal


                                                15
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 16 of 51



to approve label warnings about its use by pregnant women, were based on incomplete

information.

       While plaintiffs identify a number of alleged omissions and mischaracterizations in

GSK’s submissions to the FDA, there are four primary categories of allegedly omitted evidence

on which they rely: (1) results from three Japanese animal studies; (2) an accurate description of

Zofran’s biological mechanism of action; (3) adverse event data; and (4) information concerning

the Einarson birth defect study.

               1.     Japanese Animal Studies

                      a.      The Three Disputed Studies (100423, 100424, and 100441)

       Between 1988 and 1990, GSK conducted animal reproduction toxicity studies in Japan

through an affiliate, Glaxo Nippon. (Jenner Decl. Ex. A (Danielsson Report) at 45-46). Three of

the studies were labeled 100423, 100424, and 100441. Those three studies began in 1988, with

final study reports completed on September 29, 1988 (100423), October 30, 1989 (100424), and

December 19, 1990 (100441).

       One of plaintiffs’ experts, Dr. Bengt Danielsson, has prepared a report concluding that

the three studies found that Zofran had teratogenic effects. He bases his conclusion on increases

in embryofetal death and incidences of major external malformations and skeletal defects in the

Zofran-treated groups of rats and rabbits, as compared to untreated controls and historical control

data. (Jenner Decl. Ex. A (Danielsson Report) at 43, 45-46). GSK strongly disputes that

conclusion.

       Plaintiffs characterize Study No. 100423 as having “reported an increase in embryofetal

death in the 10 mg/kg intravenous Zofran-treated group of rats compared to untreated controls.”

(Pls. CMF ¶ 2). GSK contends that Study No. 100423 “was merely a preliminary dose-range




                                                16
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 17 of 51



finding completed in advance of the definitive study, No. 100424,” and that the study

investigators determined that “[o]n fetuses, no embryolethal, growth suppressive or teratogenic

effects related to administration of [Zofran] were observed in any groups.” (Def. Resp. ¶ 2; Hill

Decl. Ex. 32, NTX/88/005 at 040).

       Plaintiffs characterize Study No. 100424 as having “reported increases in embryonic

death and increased incidences of major external malformations in the 10 mg/kg intravenous

Zofran-treated group of rats compared to controls and historic control data, including ventricular

septal defects among others.” (Pls. CMF ¶ 2). GSK notes that Dr. Danielsson himself

acknowledged that there was not a single external malformation observed in the study. (Jenner

Decl. Ex. A (Danielsson Report) at 48-49). It further contends that the study investigators

concluded the following:

       In the observation of fetuses (F1), there were no significant differences between
       the [Zofran] groups and the control group in either the number of live fetuses or
       dead implants ratio, indicating no fetal lethal effect of [Zofran] . . . . No external
       abnormalities were observed, but skeletal and visceral anomalies or variations
       were observed with low incidences in [the Zofran groups]. However these
       incidences had no dose-dependency, and all of the changes were well known to
       occur spontaneously in rats. Consequently, [Zofran] was observed to have no
       teratogenicity.

(Hill Decl. Ex. 34, NTX/99/001 at 584).

       Finally, plaintiffs characterize Study No. 100441 as having “reported an increase in some

skeletal defects, among others in the 2.5 and 10 mg/kg oral Zofran-treated groups of rabbits

compared to untreated controls.” (Pls. CMF ¶ 2). GSK notes Dr. Danielsson’s statement that

100441’s observations were “likely to be related to the observed decreased maternal body weight

gain and absolute decreases in body weight, under certain periods in these studies, and not

directly related to ondansetron exposure.” (Jenner Decl. Ex. A (Danielsson Report) at 56). It

further contends that the study investigators concluded that “[t]he effects of [Zofran] were not



                                                 17
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 18 of 51



observed in the incidences of external, visceral or skeletal anomalies and variations in fetuses,

and there were no findings indicating the teratogenicity of [Zofran].” (Hill Decl. Ex. 33,

NTX/99/000 at 415).

                       b.     GSK’s Disclosure of the Studies

       Plaintiffs contend that GSK withheld the three Japanese animal studies from the FDA,

and thus withheld animal reproduction data allegedly showing adverse effects on the fetus.

       As noted, Zofran was initially approved on January 4, 1991. In 1992, seven Japanese-

language reproductive toxicology studies of Zofran were published. The publication had

English-language tables, data provided in Arabic-numeral format, and (for six of the seven)

English-language abstracts. Two of the three studies at issue were among that group. (Hill Decl.

Exs. 37-38).

       It is undisputed that GSK at least partly disclosed to the FDA the existence of Study Nos.

100423, 100424, and 100441 in its December 23, 1993 “Annual Report” letter. (Jenner Decl.

Ex. B at 819-20). The Annual Report, submitted to the FDA pursuant to 21 C.F.R. § 312.33,

provided the name and study number for each of the three studies, among other reproduction

studies conducted on Zofran in Japan. The disclosure was made under a sub-heading entitled

“Studies performed specifically to satisfy Japanese regulatory requirements. These studies are

either repetitive or provide no new significant safety information.” (Id.). GSK did not provide

the FDA with copies of the studies themselves, which were only available in Japanese at that

time. (Def. Resp. ¶¶ 4-6).

       In a September 11, 1997 pharmacology review, the FDA, having reviewed Study No.

100424, concluded that Zofran “was not teratogenic in the F0 generation. Furthermore, there

were no treatment-related effects on the reproductive performance of the F1 generation.” (Hill




                                                18
       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 19 of 51



Decl. Ex. 40 at 191).

        On October 29, 2014, in connection with a request for GSK to update the pregnancy

section of the Zofran label to conform with the Physician Labeling Rule (PLR) format, the FDA

requested that GSK “provide full details of animal reproduction studies” of Zofran. (Jenner

Decl. Ex. M at 074).

        GSK responded to that request on March 3, 2015, stating that it was providing “full

details of animal production studies as requested.” (Jenner Decl. Ex. N at 712). GSK’s response

described animal reproduction studies, identified individual study report numbers, and explained

that “[t]hese reports were contained in [an October 12, 1989 NDA submission].” (Id.). Plaintiffs

contend that the response failed to disclose any information about the three Japanese animal

studies, which were “animal reproduction studies” that fell within the scope of the October 29,

2014 information request. (Pls. CMF ¶ 22).

        In its October 27, 2015 denial of the Reichmann citizen petition, the FDA noted that

Zofran animal reproduction studies conducted as part of GSK’s safety evaluation of Zofran were

“relevant to this Petition.” (Hill Decl. Ex. 17 at 12). The denial specifically cited a summary of

data written in 1989 by Dr. Tucker, a GSK employee. (Jenner Decl. Ex. O at 751). The

summary did not include a discussion of Japanese animal studies. (Id.). According to GSK, the

Tucker paper was just one of a number of sources of information the FDA specifically

considered before denying the petition, including one case-control study, four cohort studies

(including a 2014 paper co-authored by Dr. Danielsson), and one case series. (Hill Decl. Ex. 17

at 7-12). 5



        5
          The FDA also indicated that it considered “information submitted by [GSK] to support approval of the
ondansetron NDA,” “post-marketing drug and device adverse event data,” and scientific literature obtained through
public submissions and through its own “targeted searches.” (Hill Decl. Ex. 17 at 18 n.56).


                                                       19
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 20 of 51



       Plaintiffs contend, however, that GSK was aware of the citizen petition, but failed to

provide any information to the FDA about the Japanese reproduction studies in response. (Pls.

CMF ¶ 27). GSK counters that it was not obligated to respond (and therefore did not do so), as

the FDA never contacted them in connection with the citizen petition. (Def. Resp. ¶ 27, citing

Rebar Dep. Ex. 42 at 313)

       The results of the Japanese animal studies were not otherwise provided to the FDA by

GSK or Novartis.

               2.     Biological Mechanism of Action

       Plaintiffs further allege that GSK “failed to disclose to [the] FDA an accurate description

of Zofran’s potential to cause embryonic arrhythmias with a resulting biological mechanism of

teratogenicity.” (See Pls. Resp. ¶¶ 7, 16, 19-21, 30-31, 34-36, 39-40). The disputed mechanism

of action is alleged to cause fetal heart defects when Zofran “inhibits hERG potassium channels”

and disrupts cardiac rhythm. (Pls. CMF ¶¶ 11-19).

       Plaintiffs contend that GSK became aware of the hERG channel mechanism by at least

2002, but failed to disclose or properly explain it to the FDA. GSK contends that the hERG

channel mechanism is merely a hypothesis, is not supported by evidence, and, regardless, that the

FDA considered evidence of the mechanism of action and still concluded there was insufficient

data to support a pregnancy warning.

                      a.      Evidence of the Mechanism of Action and GSK’s Knowledge

       In 1994, F.G. de Lorenzi et al. published a study in the British Journal of Pharmacology

titled “Block of the delayed rectifier current (IK) by the 5-HT3 antagonists ondansetron and

granisetron in feline ventricular myocytes.” (Jenner Decl. Ex. C). The study reported that

Zofran inhibits hERG potassium channels, which is the mechanism of action by which Zofran




                                               20
       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 21 of 51



can cause QT prolongation—a condition that plaintiffs characterize as a serious disturbance of

the heart’s rhythm. (Id.). Other than the characterization of QT prolongation as a “serious”

disturbance of the heart’s rhythm, GSK does not directly dispute those findings. It contends,

however, that the study did not specifically investigate hERG potassium channels and was not an

investigation of the effects of Zofran on QT interval in humans. (Def. Resp. ¶ 11).

         In 2000, Yuri Kuryshev et al. published a study in the Journal of Pharmacology and

Experimental Therapeutics titled “Interactions of 5-hydroxytryptamine 3 antagonist class of

antiemetic drugs with human cardiac ion channels.” (Jenner Decl. Ex. D). That study similarly

reported that Zofran was associated with QT prolongation due to its inhibition of hERG

potassium channels. (Id.). GSK again does not directly dispute that finding, but nonetheless

contends the study was not designed to examine the effect of Zofran on QT prolongation in

humans. (Def. Resp. ¶ 12). 6

         In 2002, an internal GSK document reported that drugs that reduce the embryonic heart

rate and produce heart rhythm abnormalities are likely to cause embryonic death that “is likely to

result from drug induced bradycardia which impairs circulation and leads to hypoxia causing

embryonic malformations and death.” (Jenner Decl. Ex. U at 669, 707). The document cited a

1994 paper co-authored by Dr. Danielsson. Plaintiffs contend that this explanation of the

“biological mechanism of teratogenicity arising from drug-induced bradycardia, i.e.,

arrhythmia,” is “virtually identical” to the explanation provided by Dr. Danielsson with reference

to Zofran in his expert report in this litigation, implying that GSK was aware of the mechanism



          6
            After the publication of the study, GSK’s then-Director of Safety Pharmacology referred to the study as a
“sound piece of work . . . from a respected group.” (Jenner Decl. Ex. T at 010). The director noted that the study
showed that “ondansetron can inhibit current flow through cloned human cardiac ion channels and therefore has the
potential to affect cardiac repolarization.” (Id.). However, the director went on to note that “the evidence [GSK
had] that ondansetron causes QT prolongation (a measure of cardiac repolarization) is not very convincing,” and that
“the clinical relevance of the non-clinical finding referred to [by the Kuryshev study] is uncertain.” (Id. at 013).


                                                         21
        Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 22 of 51



in 2002. (Pls. CMF ¶ 16; Jenner Decl. Ex. A (Danielsson Report) at 4). 7

        GSK, however, contends that “[t]he mechanism discussed [in the document] does not

refer to ondansetron or 5-HT3 receptor antagonists.” It contends that it “never determined that

Zofran could cause birth defects of any kind by the mechanism discussed” in the document, and

that “no drug-induced embryolethality or teratogenicity was observed in the Zofran animal

studies.” (Def. Resp. ¶ 16). Finally, it contends that Dr. Danielsson’s mechanism is merely

hypothetical, and that his opinions are not reliable, adequately supported, or admissible. (Id. ¶

18).

        In its September 2015 submission to the FDA, Novartis’s clinical overview described,

among other sources, two papers authored by Dr. Danielsson in 2007 and 2014. It characterized

the 2014 paper as having found that “hERG channel blockade could induce developmental

toxicity generally due to embryonic heart arrhythmias leading to transient hypoxia and

reperfusion injuries.” (Jenner Decl. Ex. J at 307). However, after an extensive review of the

literature, Novartis discounted the proposed mechanism based, at least in part, on its

understanding at the time that the results of Zofran reproduction studies conducted in the United

Kingdom did not indicate an increased risk of embryonic death or malformations. (Id.; Pls. CMF

¶ 24; Def. Resp. ¶ 24). The FDA ultimately rejected Novartis’s request to add a pregnancy

warning in 2016, based, in part, on the fact that it found “no evidence, nonclinical or mechanism

of action, that raises concerns for adverse fetal outcomes with Zofran.” (Hill Decl. Ex. 27 at

451).

                 3.       Adverse Event Data

        Plaintiffs also allege that beginning in 2005, GSK failed to disclose, or incorrectly coded,


        7
         Plaintiffs also point to language from GSK’s 2011 Lamictal label as further evidence of its knowledge of
the mechanism of action. (Pls. CMF ¶ 17; Jenner Decl. Ex. V).


                                                       22
       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 23 of 51



certain adverse event reports and failed to include those reports in the Zofran safety database,

thereby excluding them from the data analysis provided to the FDA.

                          a.       GSK’s 2005 Adverse Event Coding and 2014
                                   Disproportionality Analysis

        Under FDA regulations, a drug manufacturer is required to fully disclose all “adverse

event” data it receives about the use of the drug in humans, both during the NDA process and

afterward. See 21 C.F.R. §§ 314.50(f)(2) (“The NDA is required to contain copies of individual

case report forms for each patient who died during a clinical study or who did not complete the

study because of an adverse event, whether believed to be drug related or not, including patients

receiving reference drugs or placebo [{unless this requirement is waived}].”);

314.50(d)(5)(vi)(B) (“The applicant must . . . update periodically its pending NDA with new

safety information learned about the drug that may reasonably affect the statement of

contraindications, warnings, precautions, and adverse reactions in the draft labeling . . . . These

‘safety update reports’ must include . . . the case report forms for each patient who died during a

clinical study or who did not complete the study because of an adverse event {unless this

requirement is waived}.”); 312.33 (requiring annual reports for investigational NDAs that

include a summary of “[i]nformation obtained during the previous year's clinical and nonclinical

investigations, including . . . [a] narrative or tabular summary showing the most frequent and

most serious adverse experiences by body system . . . [and a] list of subjects who dropped out

during the course of the investigation in association with any adverse experience, whether or not

thought to be drug related.”). 8

        GSK coded adverse events involving Zofran using the Medical Dictionary for Naming



        8
           The regulations define an “adverse event” as “any untoward medical occurrence associated with the use of
a drug in humans, whether or not considered drug related.” 21 C.F.R. § 312.32(a).


                                                        23
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 24 of 51



Activities (MedDRA) terms, which provide five levels of medical coding hierarchy, the most

general of which is the System Organ Class (“SOC”). (Jenner Decl. Ex. W).

       Plaintiffs contend that in a 2005 report summarizing pediatric events involving Zofran,

GSK categorized cardiac-related congenital adverse events under six separate SOCs: (1) cardiac

disorders; (2) congenital, familial, and genetic disorders; (3) general disorders and administration

site concerns; (4) injury poisoning and procedural complications; (5) nervous system disorders;

and (6) respiratory, thoracic, and mediastinal disorders. (Pls. CMF ¶ 29, citing Jenner Decl. Ex.

Y at 511). They further contend that in 2014, GSK responded to an FDA request for data on

Zofran use in pregnancy with a disproportionality analysis (“DPA”) on only two SOCs: (1)

cardiac disorders and (2) pregnancy, puerperium, and perinatal conditions. (Pls. CMF ¶¶ 30-31,

citing Jenner Decl. Ex. Z at 129, 165). Plaintiffs allege this “limited analysis necessarily

undercount[ed] the reporting of congenital cardiac adverse events which were categorized under

other SOCs,” such that an increased risk of birth defects would not be detected in the summary

provided to the FDA. (Pls. Mem. at 19).

       GSK has responded to that claim in a number of ways. First, it denies that the adverse

events reports in question were miscoded. Second, it disputes that the 2014 DPA was ever sent

to the FDA. Third, it contends that it regularly supplied the FDA with detailed information about

pregnancy-related events, not just coded lists and DPAs. Fourth, it contends that plaintiffs are

unable to show that some other kind of coding would have demonstrated an increased risk.

Finally, it contends that the FDA considered and rejected pregnancy warnings after discounting

the value of adverse event reports, finding them not significant given the background incidence

rate of heart defects. (Hill Decl. Ex. 27 at 450, 465).




                                                 24
       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 25 of 51



               4.      The Einarson Birth Defect Study

       Plaintiffs further allege additional omissions concerning the so-called Einarson study.

According to plaintiffs, “GSK directed [the] FDA, treating physicians, and the rest of the

medical community to a small, prospective 2004 study that the company claimed established

Zofran’s safety for use during pregnancy.” (Pls. Mem. at 20). The study, entitled “The safety of

ondansetron for nausea and vomiting of pregnancy: a prospective comparative study,” was by

Adrienne Einarson et al., and was published in September 2004. (Jenner Decl. Ex. HH).

       Plaintiffs allege that “GSK failed to disclose its involvement in editing and advising” that

study, and that the FDA relied on it “as evidence that Zofran was non-teratogenic.” (Pls. Mem.

at 4, citing Jenner Decl. Ex. F at 358). They further allege that GSK “chose to stay silent on an

unreported birth defect in the study group, as well as opinions of top GSK scientists that the

study it helped bring to light was incredibly flawed and insufficiently powered.” (Id., citing

Jenner Decl. Exs. G at 661, H). GSK contends that the study is irrelevant to the preemption

analysis because the FDA reviewed the Einarson data in its labeling approval process. (Def.

Reply Mem. at 11-12; Def. Resp. ¶¶ 33, 35, citing Jenner Decl. Ex. I at 913-14).

III.   Legal Standard

       The role of summary judgment is “to pierce the pleadings and to assess the proof in order

to see whether there is a genuine need for trial.” Mesnick v. General Elec. Co., 950 F.2d 816,

822 (1st Cir. 1991) (quoting Garside v. Osco Drug, Inc., 895 F.2d 46, 50 (1st Cir. 1990)).

Summary judgment shall be granted when “there is no genuine dispute as to any material fact

and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A genuine

issue is “one that must be decided at trial because the evidence, viewed in the light most

flattering to the nonmovant . . . would permit a rational fact finder to resolve the issue in favor of




                                                 25
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 26 of 51



either party.” Medina-Munoz v. R.J. Reynolds Tobacco Co., 896 F.2d 5, 8 (1st Cir. 1990)

(citation omitted). In evaluating a summary judgment motion, the court indulges all reasonable

inferences in favor of the nonmoving party. See O’Connor v. Steeves, 994 F.2d 905, 907 (1st

Cir. 1993). When “a properly supported motion for summary judgment is made, the adverse

party must set forth specific facts showing that there is a genuine issue for trial.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 250 (1986) (quotations omitted). The nonmoving party may

not simply “rest upon mere allegation or denials of his pleading,” but instead must “present

affirmative evidence.” Id. at 256-57.

IV.    Analysis

       A.      FDA Preemption Generally

       “A fundamental principle of the Constitution is that Congress has the power to preempt

state law.” Crosby v. National Foreign Trade Council, 530 U.S. 363, 372 (2000) (citations

omitted). “Federal law preempts state law (1) when Congress has expressly so provided,

(2) when Congress intends federal law to ‘occupy the field’ and (3) to the extent that state law

conflicts with any federal statute.” American Steel Erectors, Inc. v. Local Union No. 7, Int'l

Ass'n of Bridge, Structural, Ornamental & Reinforcing Iron Workers, 536 F.3d 68, 84 (1st Cir.

2008) (citing Crosby, 530 U.S. at 372-73). This matter concerns “conflict” or “obstacle”

preemption, which occurs when “compliance with both federal and state regulations is a physical

impossibility” or when “the challenged state law stands as an obstacle to the accomplishment and

execution of the full purposes and objectives of Congress.” United States v. Arizona, 567 U.S.

387, 399 (2012) (internal quotation marks and citations omitted); PLIVA, Inc. v. Mensing, 564

U.S. 604, 620 (2011).

       The preemption analysis here begins with the Supreme Court’s decision in Wyeth v.




                                                 26
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 27 of 51



Levine, 555 U.S. 555 (2009). In Wyeth, the Court addressed whether state law failure-to-warn

claims against a drug manufacturer were preempted by federal law where the FDA had

previously approved the drug’s warning label. Because CBE regulations permitted the

manufacturer to strengthen its warning unilaterally, the Court found, it could not conclude that it

was impossible for the drug manufacturer to comply with both federal and state labelling

requirements, “absent clear evidence that the FDA would not have approved a change” to the

label. Id. at 571-73.

       The Supreme Court reiterated the Wyeth “clear evidence” standard in PLIVA, Inc. v.

Mensing, 564 U.S. 604, 623-24, n.8 (2011). Although the PLIVA court held that federal law

preempted the plaintiffs’ claims under state laws, it did so by distinguishing Wyeth. Id. The

court observed that unlike in Wyeth, where the CBE process made it possible for the

manufacturer to comply with both federal and state law, the generic manufacturer in PLIVA

could not act unilaterally; it had to obtain permission from the FDA before it could satisfy state

law. Id. In such a case, the court held, it was impossible for the manufacturer to comply with

both federal and state law, and therefore the state-law claims were preempted. Id. “The [PLIVA]

Court thus limited Wyeth to situations in which the drug manufacturer can, ‘of its own volition,

. . . strengthen its label in compliance with its state tort duty.’” In re Celexa & Lexapro Mktg. &

Sales Practices Litig., 779 F.3d 34, 41 (1st Cir. 2015) (quoting PLIVA, 564 U.S. at 624). In other

words, “[t]he line Wyeth and PLIVA thus draw [is] between changes that can be independently

made using the CBE regulation and changes that require prior FDA approval.” Id.

       The application of the Wyeth preemption standard has proved challenging, to say the

least. As the Third Circuit has observed, “[the] standard is cryptic and open-ended, and lower

courts have struggled to make it readily administrable.” In re Fosamax, 852 F.3d 268, 282 (3d




                                                27
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 28 of 51



Cir. 2017). Indeed, basic questions about the application of the standard—such as whether

“clear evidence” refers to the applicable standard of proof, and whether the ultimate question is

one of fact for the jury—do not have clear answers. Id. The First Circuit has addressed FDA

preemption under Wyeth on two occasions, without addressing the more difficult issues raised by

the opinion.

       In Gustavsen v. Alcon Laboratories, Inc., 903 F.3d 1, 9-14 (2018), the court did not reach

the “clear evidence” question, because it held that as a threshold matter, the change to the drug

product that the plaintiffs sought was a “major” change under FDA regulations. Because FDA

approval is required before a manufacturer can make “major” changes to a drug product, the

court held, the “plaintiffs' attempt to use state law to require such a change is preempted.” Id. at

14 (citing PLIVA, 564 U.S. at 620).

       In Celexa, 779 F.3d at 41-43, the court again did not reach the “clear evidence” question,

because the plaintiffs could not point to any “newly acquired information” that the defendant

could have used to change its label through the CBE process. Accordingly, the defendant could

not independently change its label in the manner plaintiffs sought, and therefore their claims

were preempted. Id. at 43 (citing PLIVA, 564 U.S. at 624).

       In summary, under Wyeth and PLIVA, a drug manufacturer may prevail on a preemption

defense if (1) the CBE process was not available, and therefore it could not make unilateral

changes to the label, or (2) it establishes by “clear evidence” that the FDA would not have

approved the changes to the label that plaintiffs contend should have been made. There are,

however, multiple unresolved questions concerning the analytic framework for resolving

questions of FDA preemption.




                                                 28
       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 29 of 51



        B.      Whether Preemption is an Affirmative Defense

        The first question is whether preemption is an affirmative defense, as to which the

manufacturer bears the burden of proof. It appears that the answer to that question is yes. See In

re Fosamax, 852 F.3d at 271, 295; see also Wyeth, 555 U.S. at 573 (“[i]mpossibility pre-emption

is a demanding defense”).

        Nonetheless, and as with many other issues in this case, the answer is not necessarily

straightforward. In Utts v. Bristol-Myers Squibb Co., 251 F. Supp. 3d 644 (S.D.N.Y. 2017), the

District Court concluded that “[p]ost-FDA approval preemption analysis proceeds in two stages.”

251 F. Supp. 3d at 661.

        First, the plaintiff must show that there existed “newly acquired information” such
        that the defendants could unilaterally change the label pursuant to the CBE
        regulation without FDA approval. But, the mere availability of a CBE label
        amendment does not necessarily defeat a manufacturer's preemption defense.
        Because the FDA “retains the authority to reject labeling changes,” a
        manufacturer may still—even after the plaintiff has identified “newly acquired
        information”—establish an impossibility preemption defense through “clear
        evidence that the FDA would not have approved a change” to the label. In sum, if
        the plaintiff can point to the existence of “newly acquired information” to support
        a labeling change under the CBE regulation, the burden then shifts to the
        manufacturer to show by “clear evidence” that the FDA would not have approved
        the labeling change made on the basis of this newly acquired information.

Id. (citations omitted). 9

        That analytical framework has some superficial appeal, but raises a number of potential

issues. First, that burden-shifting framework does not appear to have been adopted by any

appellate court. While district courts are frequently called upon to break new ground in dealing

with legal issues, it is far from clear that this is an appropriate circumstance in which to do so.

Perhaps more importantly, the Utts framework seems to suggest that a plaintiff in a failure-to-



        9
        A similar approach was adopted by the court in McGee v. Boehringer Ingelheim Pharmaceuticals, Inc.,
2018 WL 1399237, at *4 (N.D. Ala. Mar. 20, 2018).


                                                     29
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 30 of 51



warn case against a brand-name manufacturer must establish, as a part of its affirmative case,

that there was “newly acquired information” sufficient to support a labeling change under the

CBE process. Does that mean all plaintiffs in such failure-to-warn cases must always assume

that the manufacturer will raise an FDA preemption defense, and allege and prove facts

sufficient to rebut it? Or is that requirement triggered only if a manufacturer raises preemption

as a defense? If the latter, does that mean the burden shifts multiple times: it begins with the

manufacturer (to point to facts sufficient to raise a preemption defense), then shifts back to the

plaintiff (to point to “newly acquired information” sufficient to show that the CBE process could

be used), then back again to the manufacturer (to show by “clear evidence” that the FDA would

not have approved the change)? That framework seems unduly cumbersome and unnecessary,

and appears to run counter to First Circuit law.

       In Celexa, the First Circuit observed that “a necessary step in defeating [the

manufacturer’s] preemption defense is to establish that the complaint alleges a labeling

deficiency that [the manufacturer] could have corrected using the CBE regulation.” 779 F.3d at

41. The court then stated that the complaint in that case plainly alleged that the defendant was a

brand-name manufacturer and the drug was a brand-name drug (and, therefore, the manufacturer

could use the CBE process). Id. It then went on to state: “So the question to which we now turn

is whether the CBE regulation allows a brand name manufacturer to make the particular type of

change that plaintiffs say [the manufacturer] needed to have made to avoid liability under [state]

law.” Id. After reviewing the allegations of the complaint, the court concluded that it did not,

because the complaint could not plausibly be read as relying on newly acquired information. Id.

at 42-43.

       The Celexa court thus did not employ a burden-shifting framework; rather, it treated




                                                   30
       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 31 of 51



preemption like any other affirmative defense. When an affirmative defense is raised, the burden

does not shift to the plaintiff to disprove it. Nonetheless, a defendant can prevail on a motion to

dismiss (if the allegations of the complaint are insufficient) or on summary judgment (if the

undisputed evidence is insufficient). But the burden never shifts from the defendant. 10

         Under the circumstances, and again without benefit of guidance from a higher court, it

appears that FDA preemption is an affirmative defense, like any other, and that a burden-shifting

framework is inappropriate. A manufacturer may prove that the CBE process was not available

to implement changes unilaterally (because, for example, there was no “newly acquired

information”) or that the FDA would not have approved the proposed label change. It can do so

by pointing to shortcomings in the complaint (on a motion to dismiss) or the evidence (on a

motion for summary judgment). In short, and in keeping with what seems to be the intent of the

court in Wyeth, the Court concludes that preemption is an affirmative defense as to which

defendant bears the burden of proof.

         C.       Whether Preemption Presents a Question of Fact for the Jury

         The next question is whether the preemption issue is a question of law, to be resolved by

the judge, or a question of fact, to be resolved by the jury.

         In United States v. Rhode Island Insurers’ Insolvency Fund, 80 F.3d 616 (1st Cir. 1996),

the First Circuit stated that “a federal preemption ruling presents a pure question of law subject

to plenary review.” Id. at 619 (citing New Hampshire Motor Transp. Ass'n v. Town of Plaistow,

67 F.3d 326, 329 (1st Cir. 1995)). In that case, the issue was whether the federal Medicare


         10
            Consider, for example, the statute of limitations, which is a form of affirmative defense. If a complaint
in a personal injury case alleges facts suggesting that the claim did not accrue within the limitations period, a
defendant may move to dismiss the complaint as untimely. If the complaint satisfies the plausibility standard, the
defendant may later move for summary judgment on the same ground. The plaintiff may defeat summary judgment
by producing evidence sufficient to show a genuine issue of material fact as to timeliness (for example, that accrual
of the action should be delayed by the discovery rule).



                                                         31
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 32 of 51



Secondary-Payer Act, 42 U.S.C. § 1395y(b)(2)(A), preempted various sections of the Rhode

Island Insurers’ Insolvency Fund Act. Id. at 617. There were no factual issues in dispute, and

the district court had granted judgment on the pleadings for the United States. Id. at 618-19.

       In theory, that broad language ought to resolve the issue. The problem, though, is that

this dispute does not involve a simple matter of comparing the text of two statutes: it involves

complex matters of science interacting with a complex regulatory environment, and it very much

involves disputed issues of fact. The preemption question thus cannot be resolved without taking

evidence—again, the Wyeth opinion uses the phrase “clear evidence”—and making factual

findings. Again, without guidance from a higher court, it is entirely unclear how this Court

should go about making such factual findings. In particular, it is unclear whether the Court

should conduct an evidentiary hearing (in this case, what amounts to a lengthy bench trial) to

resolve factual disputes.

       In Fosamax, the Third Circuit concluded that proof by “clear evidence” involved a

question of fact, not law. 852 F.3d at 286. In substance, the court found that the inquiry

involves (1) assessing the probabilities of future events, (2) weighing conflicting evidence and

drawing inferences from facts, and (3) assessing motives and thought processes, all tasks

traditionally reserved for the jury. Id. at 289-91. As to the third point, the court noted:

       [T]he task of predicting the FDA’s likely actions requires multiple assessments of
       FDA officials’ motives and thought processes . . . . These are all, essentially,
       inquiries about motive or state of mind: what were FDA officials thinking, and
       how would that disposition have conditioned their response to plaintiffs'
       hypothetical proposed warning? And questions of motive, intent, and state of
       mind are typically understood to be fact questions committed to the jury rather
       than the court.

852 F.3d at 290-91.

       Although it did not address the issue directly, the Ninth Circuit seemed to take a similar




                                                 32
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 33 of 51



position when it reversed a district court’s summary judgment order on preemption that had

found that “new safety information” about the drug in question was irrelevant. The court

concluded that “[u]ncertainty about whether the FDA considered the ‘new safety information’

and whether it would have altered the FDA’s conclusion establishes that a disputed issue of

material fact should have prevented entry of summary judgment on the defendants’ preemption

claim.” In re Incretin-Based Therapies Prods. Liab. Litig., 721 Fed. Appx. 580, 584 (9th Cir.

2017) (emphasis added). If preemption were solely a question of law, it presumably would have

been unnecessary to resolve a disputed issue of material fact.

       Other circuits have declined to resolve the issue, finding defendants entitled to judgment

as a matter of law based on the undisputed facts. See Dolin v. GlaxoSmithKline LLC, 901 F.3d

803, 812-13 (7th Cir. 2018) (concluding that it was not necessary to determine whether “clear

evidence” involves a factual or legal question because “given the facts [of the] case, no

reasonable jury could find that the FDA would have approved [plaintiffs’ proposed warning]

under the CBE regulation”); Cerveny v. Aventis, Inc., 855 F.3d 1091, 1099, 1103 n.11 (10th Cir.

2017) (assuming for the sake of argument that “clear evidence” is a question of fact but finding

the conclusion would remain the same if it were a question of law, given the undisputed facts

“would foreclose any reasonable juror from finding that the FDA would have approved

[plaintiffs’ proposed] warnings”).

       At least one court has explicitly decided that Fosamax is wrongly decided, and that FDA

preemption is a question of law. In In re Risperdal and Invega Product Liability Cases, 2017

WL 4479317 (Cal. Super. July 24, 2017), the court observed:

       Plaintiffs have not established that the determination of whether or not federal
       preemption applie[s] is a jury question. This Court does not see this as a close
       question but as the only correct ruling that could be made here. . . . [T]here is no
       role for a jury in resolving the question of federal preemption in these cases—that



                                                33
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 34 of 51



        is, whether or not one must resolve one or more disputed antecedent factual
        questions to make such a ruling. Both the questions of whether proposed label
        changes are based on “newly acquired information” and whether there is “clear
        evidence” FDA would have not approved the proposed label changes are legal
        questions for the Court to decide.

Id. at *3. Among other things, the court observed (citing Utts) that matters of federal supremacy

should be resolved as early as possible in a case, “which is only possible when the issue is

properly considered a ‘question of law’ for judicial resolution without a jury.” Id. And it also

noted the practical problem of attempting to explain federal preemption to a jury. Id. at *2.

        Those concerns are clearly legitimate. Nonetheless, the normal rule is that factual

disputes are resolved by a jury, and it is doubtful, to say the least, that this Court has the

authority to conclude otherwise simply because the issues are highly complex or involve

important regulatory questions.

        In the absence of appellate guidance to the contrary, the Court therefore concludes that

the analysis of the Third Circuit in Fosamax is probably correct: as a general matter, the

questions of whether there was “newly acquired information,” and whether the FDA would have

rejected plaintiff’s proposed label change, are factual questions for the jury to resolve. And as

with any other factual issues, those questions could be resolved, in appropriate circumstances, on

a motion to dismiss or by summary judgement. Whether that is the most sensible or fair method

for resolving such issues—that is, having lay jurors decide difficult issues of science and

pharmaceutical regulation—is a question for Congress or a higher court to decide.

        D.      Whether the Term “Clear Evidence” Establishes a Standard of Proof

        The next question in analyzing the preemption issue is the meaning of the “clear

evidence” requirement. As the Third Circuit observed in In re Fosamax, “the number of cases

applying the clear evidence standard continues to grow, yet ‘the clear evidence standard remains




                                                  34
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 35 of 51



undefined.’” 852 F.3d at 284 (quoting In re Incretin-Based Therapies Prods. Liab. Litig., 142 F.

Supp. 3d at 1119).

       The Fosamax court concluded that Wyeth imposed a standard of proof—that is, proof by

clear and convincing evidence, rather than by preponderance of the evidence. 852 F.3d at 284-

86. Other circuits, however, “have decided preemption cases by simply treating the facts of

Wyeth as a yardstick: if the evidence for FDA rejection in a given case is less compelling than

the manufacturer’s evidence in Wyeth, the thinking goes, then there is [not] clear evidence that

the FDA would not have approved a label change and the manufacturer’s preemption defense

fails.” Id. at 284 (citing Mason v. SmithKline Beecham Corp., 596 F.3d 387, 392-96 (7th Cir.

2010); Gaeta v. Perrigo Pharms. Co., 630 F.3d 1225, 1235-37 (9th Cir 2011)). If that is in fact

the meaning of “clear evidence,” it is an unusually amorphous standard, and not particularly

useful to a district court attempting to implement it in a specific case.

       In any event, for purposes of deciding the summary judgment motion here, that issue

need not be resolved. As set forth below, because there are disputed issues of material fact as to

the relevant issues, GSK would not be entitled to summary judgment in its favor even under a

straightforward application of a preponderance-of-the-evidence standard. Accordingly, the

Court will assume for present purposes, without deciding, that the term “clear evidence” does not

impose a higher standard of proof than preponderance of the evidence.

       At a minimum, however, the term “clear evidence” implies that a materiality standard

should apply to claims based on alleged false statements and omissions to the FDA. If, for

example, the allegedly omitted information was cumulative, irrelevant, trivial, or inconclusive,

its omission surely was of no consequence. See Neder v. United States, 527 U.S. 1, 16 (1999)

(“In general, a false statement is material if it has a natural tendency to influence, or [is] capable




                                                  35
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 36 of 51



of influencing, the decision of the decision-making body to which it was addressed.”) (internal

quotations omitted).

          However, because preemption is an affirmative defense, plaintiffs do not have to show

that the information at issue was material to defeat preemption. Rather, in order to prevail, GSK

would have to show that the allegedly omitted information was not material—that is, that it

would have made no difference to the decision-maker even if it had been provided.

          E.     Whether the Standard Is Subjective or Objective

          The next question is whether the standard is subjective (that is, what the actual FDA

officials at the relevant time would have done) rather than objective (that is, what a reasonable

FDA official would have done under similar circumstances). The Wyeth opinion does not

indicate either way. The Third Circuit in Fosamax seemed to suggest that the standard is

subjective. See 852 F.3d at 290-91 (discussing that the standard concerns what FDA officials

“[were] thinking” and what their “motives and thought processes” were). Other courts, however,

have suggested that the standard is objective. See In re Bard IVC Filters Products Liability

Litigation, 2017 WL 6523833, at *8 (D. Ariz. Dec. 21, 2017) (holding that a former

commissioner of the FDA “is qualified to opine about what a reasonable FDA official would

have done with additional information”); In re Yasmin and Yaz (Drospirenone) Marketing, Sales

Practices, and Products Liability Litigation, 2011 WL 6302287, at *13 (S.D. Ill. Dec. 16, 2011)

(same).

          Plaintiffs’ claim, in substance, is that GSK made false statements, and omitted important

information, in its disclosures to the FDA. Normally, an objective standard is applied in

ascertaining the materiality of an alleged false statement or omission. See, e.g., Restatement

(Second) of Torts § 538 (1977) (“Reliance upon a fraudulent misrepresentation is not justifiable




                                                  36
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 37 of 51



unless the matter misrepresented is material. The matter is material if a reasonable man would

attach importance to its existence or nonexistence in determining his choice of action in the

transaction in question . . .”) (emphasis added).

       Here, the use of an objective standard seems appropriate. That appears to be the more

sensible and workable approach, and more consistent with the approach taken in other legal

contexts. Furthermore, using a subjective standard adds multiple layers of complication to the

fact-finding process. Among other things, the FDA is a complex organization with many

different decision-makers, who presumably changed over time; indeed, many of the relevant

decisions were rendered nearly thirty years ago. Ascertaining what the state of mind of the

relevant regulators would have been, had the disputed disclosures been made, would no doubt be

a prolonged and difficult inquiry.

       Under the circumstances, the Court will assume that the standard is objective: that is, the

issue is the effect the alleged false statements and omissions would have had on a reasonable

FDA regulator under similar circumstances.

       F.      Whether “Fraud-on-the-FDA” Claims Are Not Subject to
               the Wyeth Standard

       The next question is whether this case, which is based on a material misrepresentation

theory, should be analyzed under a different framework than Wyeth. That issue arises out of the

interplay of Wyeth and the Supreme Court’s decision in Buckman Co. v. Plaintiffs’ Legal Comm.,

531 U.S. 341 (2001).

       In Buckman, plaintiffs claiming injuries resulting from the use of certain orthopedic bone

screws brought state-law fraudulent misrepresentation claims against the consulting company

that assisted the screw manufacturer in navigating the federal regulatory process for those

devices. The plaintiffs alleged that the defendant made fraudulent misrepresentations to the FDA



                                                    37
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 38 of 51



in the course of obtaining approval to market the screws. They further alleged that had those

misrepresentations not been made, the FDA would not have approved the devices, and they

would not have been injured. The Supreme Court, however, concluded that those claims were

preempted, holding as follows:

       [W]e hold that the plaintiffs’ state-law fraud-on-the-FDA claims conflict with,
       and are therefore impliedly pre-empted by, federal law. The conflict stems from
       the fact that the federal statutory scheme amply empowers the FDA to punish and
       deter fraud against the Administration, and that this authority is used by the
       Administration to achieve a somewhat delicate balance of statutory objectives.
       The balance sought by the Administration can be skewed by allowing fraud-on-
       the-FDA claims under state tort law.

531 U.S. at 348 (footnote omitted).

       Despite that sweeping language, the Wyeth court distinguished Buckman, stating that the

latter case “involved state-law fraud-on-the-agency claims, and the Court distinguished state

regulation of health and safety as matters to which the presumption [against preemption] does

apply.” 555 U.S. at 565 n.3; see Buckman, 531 U.S. at 347-48 (“Policing fraud against federal

agencies is hardly ‘a field which the States have traditionally occupied,’ such as to warrant a

presumption against finding federal pre-emption of a state-law cause of action . . . [I]n contrast to

situations implicating ‘federalism concerns and the historic primacy of state regulation of matters

of health and safety’ . . . .” (quoting Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230 (1947);

Medtronic, Inc. v. Lohr, 518 U.S. 470, 485 (1996)). The Buckman court contrasted the fraud-on-

the-agency claims before it, which arose solely from the defendant’s alleged violation of FDA

disclosure requirements, with the common-law negligence claims in Medtronic, which did not,

despite the fact that they paralleled FDA requirements. See 531 U.S. at 352-53.

       Here, plaintiffs essentially assert state-law failure-to-warn product-liability claims, not

state-law fraud-on-the-FDA claims. Those claims are based in large part on GSK’s alleged




                                                 38
       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 39 of 51



misrepresentations in violation of FDA disclosure requirements, but are framed as product-

liability claims. It therefore appears that Buckman does not apply in the present circumstances.

        G.       Whether Defendants Are Entitled to Summary Judgment

        To summarize: (1) preemption is an affirmative defense, as to which GSK bears the

burden of proof; (2) preemption presents a question of fact, to be considered on summary

judgment like any other factual issue; (3) for present purposes, the Court will not decide whether

the standard of proof is clear and convincing evidence, rather than preponderance of the

evidence, but the allegedly omitted material must have been material; (4) the standard is

objective—that is, what effect the allegedly omitted information would have had on a reasonable

regulator; (5) the standard of Wyeth applies—that is, to prevail, GSK must show (a) that it could

not have changed the label, by the CBE process or otherwise, or (b) if it could, that there is clear

evidence that the FDA would have rejected the label that plaintiffs contend state law would have

required.

        The remaining question is whether, given that framework, GSK is entitled to summary

judgment in its favor on preemption grounds.

        Plaintiffs do not dispute that the FDA rejected enhanced warning labels on multiple

occasions, and that those rejected labels in substance contain the same warnings plaintiffs say

GSK should have provided. They contend, however, that GSK could have unilaterally changed

its label through the CBE process after the initial label had been approved. 11 They further

contend that the FDA’s rejection of proposed changes to the label, through the citizen petition

and the Novartis application, were based on incomplete evidence, because GSK withheld



        11
           As noted, Zofran was the subject of five NDAs, approved between 1991 and 1999. Plaintiffs also
contend that to the extent NDA applications were pending at relevant times, GSK also had the power to change the
label during the application process.


                                                       39
        Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 40 of 51



information from the agency. According to plaintiffs, had the FDA been presented with that

information, it would have required substantially stronger warnings for use during pregnancy.

         As set forth above, to prevail, GSK essentially has to show that the CBE process was not

available to it or that the FDA would not have approved the proposed label. As to the latter,

GSK has to show that the FDA was fully informed as to the relevant science, and that any

alleged omission or failure to disclose was not material. In other words, GSK must essentially

show that the FDA either had the disputed information, or that the disputed information would

not have made a difference had it been provided.

         GSK contends, in substance, that it appropriately submitted safety information to the

FDA at the relevant times. It further contends that there was no “newly-acquired” data of a

“different type or greater severity or frequency than previously included in submissions to [the]

FDA” that would have permitted it to submit a label change pursuant to the CBE process. (Def.

Mem. at 13-14). GSK also contends that the CBE process could not be used to change the “use

in specific populations” language on the label, and that any such change could only be made

through a PAS request. (Id. at 14-15).

         In support of their position, plaintiffs have submitted, among other things, an expert

report from Dr. Brian E. Harvey, who served as a Medical Officer/Supervisory Medical Officer

at the FDA from 1995 to 2007. 12 As set forth below, the report includes a variety of conclusions

as to the completeness of GSK’s disclosures and the materiality and likely effect of GSK’s

alleged omissions. 13


         12
             From 2005 to 2007, Dr. Harvey was Director of the Division of Gastroenterology Products. His report
states that in that role, he “was involved with all label negotiations between [his] divisions and the drug sponsors in
this therapeutic area, including Zofran.” (Supp. and Am. Jenner Decl. Ex. 5 at 4).
         13
            GSK has recently filed a motion to exclude Dr. Harvey’s conclusions pursuant to Fed. R. Civ. P. 702 and
Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993). This memorandum and order assumes without
deciding, that Dr. Harvey’s opinions are admissible.


                                                          40
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 41 of 51



               1.      Japanese Animal Studies

       The parties do not dispute that GSK referred to the three Japanese animal studies

by title and number in its 1993 Annual Report to the FDA. GSK contends that its

disclosure complied with federal regulations, and that “[i]t was [the] FDA’s prerogative

to accept citations to the publicly available Japanese studies instead of full reports.”

(Def. Reply Mem. at 5). It further contends that the Japanese studies were not “newly

acquired information” within the meaning of the CBE regulations, because they were

disclosed to the FDA and did not “reveal risks of a different type or greater severity or

frequency than previously included in submissions to [the] FDA.” See 21 C.F.R. § 314.3.

       Plaintiffs dispute that contention, relying substantially on the report of Dr.

Harvey, who opined as follows:

       GSK’s selection of Pregnancy Category B was based upon four animal
       reproductive toxicology studies in 1985 in the U.K. However, in 1988, GSK
       conducted three other animal reproductive studies in Japan, but failed to present
       the results of those studies to FDA in its application. Instead, on December 23,
       1993, GSK reported only the study numbers of the Japanese studies as part of its
       1993 annual report to FDA, stating that the studies were “considered not to be
       relevant to the safety evaluation of [Zofran].”

(Supp. and Am. Jenner Decl. Ex. 5 at 42) (footnotes omitted).

       To the extent any of the results of these [three Japanese] studies showed adverse
       effects in the drug group that were not seen in the control group, regulatory
       standards required that GSK submit those studies to FDA. In order to conduct a
       complete evaluation, FDA must be given the opportunity to have their own
       toxicologists review all reproductive animal studies to determine whether the
       adverse effects were treatment related and may have represented signs of
       developmental teratogenicity. Especially at the time of initial approval, the drug
       sponsor is expected to submit all known reproductive toxicology studies; it is not
       allowed under the regulations to choose only those studies that are favorable to
       the drug sponsor and exclude others that reveal abnormalities.

(Id. at 55) (footnotes omitted).

       The evidence as to whether GSK complied with then-existing FDA disclosure



                                                 41
       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 42 of 51



requirements when it submitted the study numbers is limited. As noted, 21 C.F.R. § 312.33

requires that annual reports for investigational NDAs include “[a] list of the preclinical studies

(including animal studies) completed or in progress during the past year and a summary of the

major preclinical findings,” and, “[i]f the study has been completed, or if interim results are

known, a brief description of any available study results”) (emphasis added). It is unclear

whether GSK’s filings literally complied with that regulation. Dr. Harvey’s report, other than

citing to 21 C.F.R. § 312.50 (concerning the content and format of NDAs), simply states in

general terms that “regulatory standards” required submission of the full reports, that the drug

sponsor is “expected” to submit such reports, and that it is “not allowed under the regulations” to

“choose” only “favorable” studies. GSK has submitted no expert or other affidavit in response.

Nor does it cite to any specific regulation or FDA policy against which to measure the

sufficiency of its disclosures (other than to contend that the full reports from these studies cannot

constitute “newly acquired information” within the meaning of 21 C.F.R. § 314.3). It is unclear

how the Court could conclude on the present record that the “list” and “summary” provided to

the FDA were complete and accurate.

         Even assuming that GSK did not properly disclose the information to the FDA, that is not

the end of the inquiry, because GSK could show that the allegedly omitted information was not

material—that is, that it would have made no difference to the FDA even if it had been

provided. 14

         As to that issue, plaintiffs rely principally on Dr. Harvey’s expert report, which states the




          14
             Of course, even if omitted information was shown to be material—that is, that it might have made a
difference—that does not mean it would have resulted in a different outcome. But in the summary judgment
context, the court must draw all reasonable inferences in favor of the non-moving party. Thus, if there is evidence
sufficient to conclude that the omitted information could have made a difference, the Court must assume that it
would have made a difference.


                                                         42
       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 43 of 51



following:

        GSK had an obligation to disclose the results of all three of these [Japanese]
        studies to FDA prior to agency approval of the application.

        Based upon my agency experience, had GSK done so, FDA would have taken
        into consideration all seven reproductive toxicology animal studies including the
        findings of evidence of developmental teratogenicity. Therefore, FDA would not
        have approved a Pregnancy Category of B for Zofran at the time of initial
        approval due to knowledge of animal reproductive studies that showed “an
        adverse effect on the fetus.” Knowing there was evidence of fetal harm in animal
        studies, FDA would have designated Zofran as a Pregnancy Category C.

(Supp. and Am. Jenner Decl. Ex. 5 at 56).

        GSK certainly should have disclosed the study results of all the Japanese animal
        studies as part of its 1997 NDA application. GSK had multiple opportunities to
        provide FDA with the full picture of the reproductive toxicology animal studies
        that were conducted. GSK could have disclosed at least three of the four studies
        prior to FDA’s initial approval [of] Zofran and all four should have been
        disclosed by the time of GSK’s supplement to the NDA at the end of 1991. Had
        GSK done so, Zofran would not have met the definition of a Pregnancy Category
        B drug. More recently, FDA would have had the opportunity to change the
        Pregnancy Category to C in 1999 . . . if GSK had submitted all the Japanese
        animal studies as required by the regulatory standards. . . . As the Division
        Director at FDA from 2005 to 2007, [had] this omitted information been brought
        to my attention, I would have considered it material. If GSK complied with the
        regulatory standards Zofran would have been designated as a Pregnancy Category
        C drug and adequate labeling would have included warnings of potential
        teratogenic effects.

(Id. at 59).

        As to the rejection of the proposed Novartis labeling change, Dr. Harvey’s report

includes the following:

        If GSK had properly reported the detailed results of the Japanese animal studies to
        FDA, they would have been material to FDA’s review of a label change and the
        outcome would have been different from Novartis’[s] attempt to change the label.
        Novartis’s proposed labeling changes were supported only by a safety signal in
        the adverse events reports. Operating under the assumption that animal studies
        were negative for teratogenicity, FDA prohibited stronger pregnancy warnings. If
        FDA had been given the totality of the evidence, they would likely have approved
        the Novartis proposed labeling change.




                                                43
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 44 of 51



(Id. at 98) (footnotes omitted).

       GSK contends that submission of the full Japanese animal studies would not have been

material to the FDA’s decision-making, because “GSK gave FDA data on literally thousands of

animals that had been exposed to Zofran during preclinical reproductive toxicity studies,” and

that plaintiffs are “cherry-picking and misinterpreting information” favorable to their claims.

(Def. Mem. at 6). It further contends:

       . . . [T]he Japanese animals exposed to Zofran did not reveal risks of a different type or
       greater severity or frequency than those shown in the wealth of other Zofran preclinical
       data provided to FDA. Plaintiffs conveniently ignore many other GSK-conducted animal
       studies---both from the U.K. and Japan---submitted to and reviewed by FDA during the
       development of Zofran. . . . In fact, FDA’s scientists concluded that the preclinical data
       simply do not show teratogenicity . . . even with results similar to the studies cited by
       Plaintiffs. Further, the investigators in the Japanese studies determined that there were no
       teratogenic effects.

(Id.). GSK has not, however, submitted an expert or other affidavit to that effect.

       Again, GSK has the burden of establishing, as a factual matter, that the requirements of

the preemption defense apply. Under the circumstances, it appears at a minimum that there is a

disputed issue of material fact as to whether GSK properly disclosed the Japanese animal studies

to the FDA, and whether those disclosures would have been material to a reasonable regulator at

the agency. The Court therefore cannot conclude, on the present record, that the Japanese animal

studies were not “newly acquired information” or would not have revealed “risks of a different

type or greater severity or frequency” than previously included in submissions to the FDA, or

that there is “clear evidence” that the FDA would have rejected plaintiffs’ proposed label

changes even if a more comprehensive disclosure had been made.

               2.      Adverse Event Data

       The parties further dispute whether GSK properly disclosed adverse event data to the

FDA, and whether that data would have affected the FDA’s decision concerning the label.



                                                44
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 45 of 51



       GSK does not seem to contend that it coded adverse event data appropriately in all

respects. Rather, it contends that plaintiffs “incorrectly suggest that the only information GSK

provided to FDA about adverse events was in the form of coded lists or disproportionality

analyses,” and that in truth it “provided far more detailed information to FDA about events

reported to it, including pregnancy related events, on a regular basis, as required by the

regulations.” (Def. Mem. at 9) (footnote omitted). GSK contends (1) that plaintiffs cannot show

that some other kind of coding would have revealed an increased risk of birth defects, (2) that the

adverse event data in question did not “reveal risks of a different type or greater severity or

frequency than previously included in submissions to [the] FDA,” and therefore (3) that it had no

obligation to use the CBE process to amend the label. See 21 C.F.R. § 314.3. Finally, GSK

contends that the FDA “wholly discounted the value of adverse events during the label change

discussion between Novartis and FDA,” stating that “[i]t is not possible to rely on case reports of

congenital abnormalities to determine drug attribution given that the background incidence of

major congenital abnormalities is 2-4%.” (Def. Mem. at 10-11, quoting Ex. 27 at 450). It

therefore concludes that there is clear evidence that the FDA would not have approved a label

change based on that data.

       Again, plaintiffs rely largely on Dr. Harvey’s report, which states as follows:

       When assessing a drug’s safety and making regulatory decisions, FDA considers
       adverse event reports as part of the totality of the evidence, including information
       reported on the mechanism of action, clinical studies, literature and preclinical
       studies. However, GSK did not report to FDA all the information in its
       possession related to adverse events among women who used Zofran in
       pregnancy, nor did GSK’s analysis given to FDA of Zofran’s use in pregnancy
       include all adverse events that GSK knew or should have known about, nor did
       GSK respond forthrightly to FDA’s request for full details concerning animal[]
       reproduction studies or provide adequate information on mechanism of action
       data. Thus, FDA did not and continues not to have all the available relevant data
       to assess the safety of Zofran’s use in pregnancy.




                                                 45
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 46 of 51



(Supp. and Am. Jenner Decl. Ex. 5 at 87).

       By failing to accurately monitor, assess and report adverse event reports to FDA,
       GSK altered the mix of evidence available to the agency and deprived FDA of the
       ability to evaluate Zofran’s pregnancy-related risks based on a complete record.
       As the former Division Director with responsibility for regulating Zofran, the
       omitted information was material to me and based on my experience would have
       been material to a reasonable FDA official performing the same regulatory
       functions.

(Id. at 93). GSK has submitted no expert or other affidavit concerning the issue.

       Neither party cites to any specific FDA regulation or policy governing GSK’s obligation

to code or disclose adverse events in a particular way. Dr. Harvey’s opinion simply states in

general terms that GSK did not report “all the information in its possession related to adverse

event reports,” and that GSK’s analysis did not include “all adverse events that GSK knew or

should have known about.” He does not, however, seem to opine that GSK miscoded adverse

events in any specific instance, or that the FDA would have taken a different position as to the

label had the data been coded differently.

        Nonetheless, whatever holes may exist in Dr. Harvey’s report, it is not plaintiffs’ burden

to prove a lack of preemption; GSK has the burden of establishing that the requirements of the

preemption defense do apply. Again, and at a minimum, it appears that there is a disputed issue

of material fact as to whether GSK properly coded and disclosed adverse event data to the FDA,

and whether those disclosures would have been material to a reasonable regulator. The Court

therefore cannot conclude, on the present record, that the adverse event data was not “newly

acquired information” or would not have revealed “risks of a different type or greater severity or

frequency” than previously included in submissions to the FDA, or that there is “clear evidence”

that the FDA would have rejected plaintiffs’ proposed label changes even if a more

comprehensive disclosure had been made.




                                                46
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 47 of 51



               3.        Mechanism-of-Action Evidence

       Plaintiffs have also alleged that GSK’s failure to disclose an accurate description

of Zofran’s biological mechanism of action was a “material omission.” (Pls. Mem. at

17). Plaintiffs essentially contend that GSK knew of the existence of the mechanism-of-

action data and did not provide that information to the FDA. Plaintiffs further contend

that (1) GSK’s failure to disclose that information caused Novartis to discount Dr.

Danielsson’s evidence of the hERG channel mechanism in its 2015 FDA submission, and

(2) a 2016 FDA statement about the lack of such evidence as a basis for rejecting

Novartis’s request to add a pregnancy warning, taken together, show that the failure to

disclose was material.

       GSK contends that the hERG channel mechanism proffered by Dr. Danielsson

cannot constitute “newly acquired information,” because the FDA twice considered his

evidence of the mechanism of action, as well as the two studies that he relied on to make

his findings, and still concluded there was insufficient data to support a pregnancy

warning.

       The actual evidence in the record as to this issue is sparse. As to the alleged

failure to disclose mechanism-of-action information, Dr. Harvey’s report states the

following:

       When assessing a drug’s safety and making regulatory decisions, FDA
       considers . . . the totality of the evidence, including information reported on the
       mechanism of action . . . . However, GSK did not . . . provide adequate
       information on mechanism of action data. Thus, FDA did not and continues not
       to have all the available relevant data to assess the safety of Zofran’s use in
       pregnancy.

(Supp. and Am. Jenner Decl. Ex. 5 at 87). Dr. Harvey’s report states: “If GSK had used the

CBE process to update Zofran’s label, FDA likely would have allowed the changes based upon



                                                47
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 48 of 51



the evidence of a ‘reasonable association’ between Zofran and birth defects, including: . . . the

available information about Zofran’s risk of hERG blocking and QT prolongation . . . .” (Id. at

97). Again, GSK has provided no countering affidavit.

       Under the circumstances, it again appears, at a minimum, that there is a disputed issue of

material fact as to whether GSK properly disclosed information concerning mechanism of action

to the FDA.

               4.      The Einarson Birth Defect Study

       With respect to the Einarson birth defect study, plaintiffs allege that GSK failed to

disclose its involvement in the study, as well as the opinions of GSK’s scientists that the study

was flawed. They also allege that the published study “was missing at least one birth defect

adverse event that GSK evaluated in the course of the study and maintained in its own safety

data[]base.” They contend that because the FDA relied on that study “as evidence that Zofran

was non-teratogenic,” those omissions “represent[ed] additional information clearly relevant to

the question of Zofran's association with birth defects that FDA did not have at the time of any of

its ondansetron reviews.” (Pls. Mem. at 4, 23-24).

       GSK contends that the Einarson study cannot be considered “newly acquired

information” because the FDA reviewed it, with GSK’s role clearly disclosed in the

“acknowledgements” section, during the labeling approval process. As to the missing adverse

event, GSK contends that the defect in question is not material because it is not an injury alleged

by a single plaintiff in this case. (Def. Reply Mem. at 11-12).

       As to the Einarson study, Dr. Harvey’s report states the following:

       . . . GSK possessed information on adverse events that occurred during the Einarson
       study but were apparently never reported in the study abstracts. Despite having this
       information, GSK featured excerpts from the Einarson abstract studies in each of its
       [handouts to healthcare providers regarding Zofran use in pregnancy] from the years



                                                48
       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 49 of 51



        2002-2004 (before including an excerpt on the final published version) that represented at
        various times that the study group revealed “no birth defects.” Given GSK’s knowledge
        of birth defects reported in the Einarson study group that were not listed in the Einarson
        abstracts or final publication, inclusion of the Einarson abstracts in its own, voluntary
        [handouts to healthcare providers regarding Zofran use in pregnancy] was in violation of
        [GSK’s] guide language requiring Medical Information documents “reflect known
        information on the subject whether favorable or unfavorable.” GSK knew that the
        Einarson study was deficient, was aware of “known information on the subject” that was
        “unfavorable” to the company, but chose instead to feature the study as an example of
        Zofran’s safe and effective use during pregnancy.

(Supp. and Am. Jenner Decl. Ex. 5 at 71; see also id. at 46-48). Dr. Harvey’s report concludes

that GSK engaged in “an inconsistent pattern of reporting” birth defects from the Einarson study,

and opines that the observed birth defects “should all have been reported to FDA.” (Id. at 91).

Dr. Harvey does not, however, seem to opine that GSK violated any regulatory or other

requirement of disclosure to the FDA. Again, however, GSK has provided no countering

affidavit.

        Under the circumstances, it again appears, at a minimum, that there is a disputed issue of

material fact as to whether GSK properly disclosed the findings of the Einarson study to the

FDA.

               5.      The Use of the CBE Process for “Specific Populations” Language

        Finally, GSK contends that the CBE process could not be used to change the “use in

specific populations” language on the label, and that any such change could only be made

through a PAS Request. (Def. Mem. at 14-15). It bases that contention on the fact that the FDA

added the “use in specific populations” section of the label in 2006, and yet “specifically omitted

this section of the label as one in which a CBE change could be made” when it revised the CBE

regulation in relevant part (apparently in 2008). Because 21 C.F.R. § 314.70(c)(6)(iii)(A)

permits CBE changes to “add or strengthen a contraindication, warning, precaution, or adverse

reaction,” without mentioning the “use in specific populations” section added two years prior,



                                                49
      Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 50 of 51



the reasoning goes, under the regulations a manufacturer could only use the CBE process to

change those portions of the label that were specifically enumerated, and not any others. GSK

contends that a change to the “use in specific populations” section of the label and pregnancy

category status therefore could only be made through a PAS. (Def. Mem. at 15, citing 21 C.F.R.

§ 314.70314.70(b)(2)(v)). Based on that reading of the regulations, GSK concludes that “a CBE

change [to the ‘use in specific populations’ section] was not even an option for GSK.” (Id.).

       Plaintiffs respond to that contention as follows:

       GSK attempts then to argue that the relocation of "Pregnancy" to the newly-created "Use
       in Specific Populations" section (post 2006) somehow altered or superseded the CBE
       regulation in relation to how a pregnancy warning may be changed. The CBE regulation,
       however, existed long before the creation of the "Use in Specific Populations" addition
       and was not amended to then preclude changes made to that particular section. The only
       reference in the CBE regulation to a specific section of labeling is a provision prohibiting
       unilateral CBE changes to the "Highlights of Prescribing Information" section of the
       label, as expressed in 21 C.F.R. 201.57(a). See 21 C.F.R. § 314.70(c)(6)(iii) (requiring
       that "Highlights” changes be made by Prior Approval Supplement). Plaintiffs' proposed
       labeling changes, including the Pregnancy Categorization, do not implicate the Highlights
       section. . . . Hence, the CBE process was available throughout the lifetime of Zofran and
       is intended to permit the manufacturer's unilateral strengthening of labeling language
       consistent with material safety information, pregnancy included.

(Pls. Mem. at 26, n.74).

       Based on its review of the relevant language, plaintiffs’ reading of the CBE regulation

appears to be correct. The FDA did not intend to prohibit changes to that portion of the label

concerning “use in specific populations” when it revised the regulation. That conclusion is

bolstered by the common-sense view that it is highly unlikely that the FDA intended to prohibit a

drug company from making voluntary changes to labels affecting specific vulnerable populations

(such as pregnant women), if the company became aware of a risk after initial approval of the

drug. To the extent, therefore, that GSK’s motion for summary judgment relies on the argument

that the CBE process could not be used to revise the “Use in Specific Populations” portion of the




                                                50
       Case 1:15-md-02657-FDS Document 1325 Filed 02/05/19 Page 51 of 51



label, it will be denied.

                6.      Conclusion

        In summary, based on the evidence in the record, and drawing all reasonable inferences

in plaintiffs’ favor, there appear to be disputed issues of material fact concerning the availability

of a federal preemption defense. Specifically, on the present record, GSK has not proved, based

on the undisputed facts, either (1) that the CBE process was unavailable to it to make more

substantial warnings concerning the ingestion of Zofran during pregnancy, or (2) that there is

“clear evidence” that the FDA would not have approved a label including such warnings.

Accordingly, GSK is not entitled to summary judgment in its favor based on an affirmative

defense of federal preemption.

IV.     Conclusion

        For the foregoing reasons, defendant’s motion for summary judgment based on federal

preemption is DENIED.

So Ordered.



                                                       /s/ F. Dennis Saylor
                                                       F. Dennis Saylor IV
Dated: February 5, 2019                                United States District Judge




                                                 51
